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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


MODERNATX, INC. and MODERNA US, INC.,
                     Plaintiffs, Counterclaim-              Case No. 1:22-cv-11378-RGS
                     Defendants,
         v.
 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH
 US INC.,

                     Defendants, Counterclaim-
                     Plaintiffs.



                    SUPPLEMENTAL NOTICE OF RELATED ACTIONS

        Pursuant to the Court’s April 16, 2014 Standing Order requiring Notice of Related Actions

and Local Rule 40(g)(1), Plaintiffs ModernaTX, Inc. and Moderna US, Inc. (collectively,

Moderna) and Defendants Pfizer, Inc., BioNTech SE, BioNTech Manufacturing GmbH, and

BioNTech US Inc. (collectively, “Defendants”) hereby notify the Court of Final Written Decisions

in related actions before the Patent Trial and Appeal Board (“PTAB”) of the U.S. Patent and

Trademark Office.

        Identification of Related Actions. The related actions are two inter partes review (“IPR”)

proceedings relating to two of the patents at issue in this litigation.

                        Final Written                                          Claims Found
   IPR Number                                      Patent Number
                        Decision Date                                          Unpatentable
                                                                          1, 2, 4-6, 8-12, 16, 17,
  IPR2023-01358         March 5, 2025        U.S. Patent No. 10,702,600
                                                                          20, 21, and 26
                                                                          1-3, 6-9, 11-13, 17,
  IPR2023-01359         March 5, 2025        U.S. Patent No. 10,933,127
                                                                          18, and 20
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The Final Written Decisions were placed by the PTAB on its public docket on March 13, 2025,

and are attached as Exhibits 1 and 2 to this submission.

       Status of Related Actions. On August 28, 2023, Defendants petitioned for IPR of

U.S. Patent No. 10,702,600 and U.S. Patent No. 10,933,127, challenging each claim of both

patents that had been asserted in this litigation (collectively, the “challenged claims”). 1 On March

6, 2024, the PTAB instituted IPR proceedings on all challenged claims of both patents. On April

12, 2024, this Court stayed this action pending resolution of the two IPRs. Dkt # 240. On March

5, 2025, the PTAB issued a Final Written Decision for both patents, finding all challenged claims

unpatentable. See Exhibits 1 and 2. Any notice of appeal of the Board’s Final Written Decisions

is due on May 7, 2025—sixty-three days from the Board’s decisions. See 37 C.F.R. § 90.3.

       The parties further state that they are conferring regarding the impact of the Final Written

Decisions on the Court’s April 12, 2024 stay order.




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  The IPR proceedings did not involve U.S. Patent No. 10,898,574, which is also asserted in this
litigation.


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 Dated: March 19, 2025


 DEFENDANT AND COUNTERCLAIM-                 DEFENDANTS AND COUNTERCLAIM-
 PLAINTIFF PFIZER INC.                       PLAINTIFFS BIONTECH SE,
                                             BIONTECH MANUFACTURING GMBH,
 By their Counsel,                           AND BIONTECH US INC.

 /s/ Wyley Proctor                           By their Counsel,
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PLAINTIFFS AND COUNTER-
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MODERNA US, INC.

By their Counsel,

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                                 CERTIFICATE OF SERVICE

        I, Gregory M. Boucher, hereby certify that on March 19, 2025, I caused the foregoing
notice to be electronically filed with the Clerk of the Court using the CM/ECF system, which
will simultaneously serve notice of such filing to counsel of record to their registered electronic
mail addresses.

                                               /s/ Gregory M. Boucher
                                               Gregory M. Boucher (BBO# 665212)




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